OPINION — AG — WHERE A POLICE OFFICER IS ACTING OUTSIDE OF THE TERRITORIAL LIMITS OF HIS EMPLOYING MUNICIPALITY UPON DIRECTIVES OF THE EMPLOYING MUNICIPALITY, AND HE COMMITS SOME ACT WHICH GIVES RISE TO A CLAIM AGAINST THE MUNICIPALITY, A FACTUAL DETERMINATION WILL HAVE TO BE MADE IN EACH INSTANCE TO DETERMINE IF THE POLICE OFFICER WAS ACTING IN A PROPRIETARY OR GOVERNMENTAL CAPACITY. THIS DETERMINATION IS NECESSARY IN ORDER TO DETERMINE WHAT LIMITATIONS, IF ANY, WILL BE IMPOSED ON THE MUNICIPALITY'S LIABILITY.  WHERE A POLICE OFFICER IS ACTING OUTSIDE OF THE TERRITORIAL LIMITS OF HIS EMPLOYING MUNICIPALITY AND IS DOING SO ON HIS OWN VOLITION, A FACTUAL SITUATION IS PRESENTED AS TO WHETHER OR NOT THE POLICE OFFICER IS PERFORMING SOME FUNCTION OF THE CITY AND, AS SUCH CANNOT BE ANSWERED BY THIS OFFICE. (JAMES C. PECK)